                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at KNOXVILLE



RODOLFO BORJA TORRES                              )
                                                  )
              Petitioner,                         )
                                                  )
v.                                                )      3:03-cr-101
                                                  )      3:07-cv-035
                                                  )      Jordan
                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
              Respondent.                         )



                                    MEMORANDUM



       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

filed by petitioner Rodolfo Borja Torres ("petitioner"). For the following reasons, the § 2255

motion will be DENIED and this action will be DISMISSED.




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I. Standard of Review


         This court must vacate and set aside petitioner's conviction upon a finding that "there

has been such a denial or infringement of the constitutional rights of the prisoner as to render

the judgment vulnerable to collateral attack." 28 U.S.C. § 2255. To prevail under § 2255,

petitioner "must show a 'fundamental defect which inherently results in a complete

miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process."

United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

368 U.S. 424, 428 (1968)).

         Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

District Courts, the court is to determine after a review of the answer and the records of the

case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

records of the case show conclusively that petitioner is not entitled to relief under § 2255,

there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

1986).




II.      Factual Background


         Petitioner pleaded guilty to conspiracy to distribute and possess with intent to

distribute 1000 kilograms or more of marijuana, 500 grams or more of methamphetamine,

and five kilograms or more of cocaine hydrochloride (count one); and conspiracy to commit


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money laundering (count two). He was sentenced to concurrent terms of imprisonment of

168 months as to each count. Petitioner did not appeal his sentence. In support of his § 2255

motion to vacate sentence, petitioner claims he received ineffective assistance of counsel

because his attorney failed to fail a notice of appeal.




III.     Discussion


         In Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme Court

established a two-part standard for evaluating claims of ineffective assistance of counsel:

         First, the defendant must show that counsel's performance was deficient. This
         requires showing that counsel made errors so serious that counsel was not
         functioning as the "counsel" guaranteed the defendant by the Sixth
         Amendment. Second, the defendant must show that the deficient performance
         prejudiced the defense. This requires showing that counsel's errors were so
         serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

Id. at 687.

         To establish that his attorney was not performing "within the range of competence

demanded of attorneys in criminal cases," McMann v. Richardson, 397 U.S. 759, 771 (1970),

petitioner must demonstrate that the attorney's representation "fell below an objective

standard of reasonableness." Strickland v. Washington, 466 U.S. at 687-88. In judging an

attorney's conduct, a court should consider all the circumstances and facts of the particular

case. Id. at 690. Additionally, "a court must indulge a strong presumption that counsel's

conduct falls within the wide range of reasonable professional assistance; that is, the


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defendant must overcome the presumption that, under the circumstances, the challenged

action 'might be considered sound trial strategy.'" Id. at 689 (quoting Michel v. Louisiana,

350 U.S. 91, 101 (1955)).

       The issue is whether counsel's performance "was so manifestly ineffective that defeat

was snatched from the hands of probable victory." United States v. Morrow, 977 F.2d 222,

229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, petitioner bears the

burden of proving by a preponderance of the evidence that his counsel was deficient. See

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).

       Petitioner alleges that his attorney failed to file a notice of appeal. He specifically

alleges as follows:

               After the district court imposed the 168-month term of imprisonment
       to petitioner on January 24, 2006. Petitioner requested his counsel regarding
       the feasibility of an appeal due of the improper enhancement that was imposed
       at the sentencing for an aggravating role in the offense. Counsel told petitioner
       that she would came to visit him at the attorney's visit room downstairs in the
       federal building. Ten minutes later counsel appeared at the attorney's room
       where both had discussions over counsel to file a notice of appeal on
       petitioner's behalf. After counsel agreed with petitioner that the sentence was
       excessive based on the improper enhancements for which petitioner did not
       admit nor were found beyond a reasonable doubt by a jury. Then, counsel
       made a hand written notice of appeal for petitioner to file himself. [See
       Exhibit A] Unfortunately, the time had passed to file a notice of appeal within
       the ten days pursuant to Fed.R.App.P. 4(b)(1)(A) and no appeal was taken on
       behalf of petitioner even though he directed his counsel to do so.

[Criminal Action No. 3:03-cr-101, Court File No. 967, Supporting Memorandum, pp. 1-2

(grammatical errors in original)]. A copy of the handwritten Notice of Appeal is attached as




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Exhibit A to the Memorandum; the notice bears the style of case and a signature line for

petitioner to sign pro se.

       The Supreme Court has held that "a lawyer who disregards specific instructions from

the defendant to file a notice of appeal acts in a manner that is professionally unreasonable."

Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000). See also Ludwig v. United States, 162 F.3d

456, 459 (6th Cir. 1998) ("failure to perfect a direct appeal, in derogation of a defendant's

actual request, is a per se violation of the Sixth Amendment"). As the Sixth Circuit has

emphasized, however, "a defendant's actual 'request' is still a critical element in the Sixth

Amendment Analysis. The Constitution does not require lawyers to advise their clients of

the right to appeal." Id. See also Regalado v. United States, 334 F.3d 520, 524-526 (6th Cir.

2003) (failure to file an appeal is not ineffective assistance of counsel where attorney was not

specifically instructed to do so).

       In this case, based upon petitioner's own allegations and the attached handwritten

notice of appeal, it is clear that petitioner and counsel discussed the feasibility of an appeal;

that petitioner was aware his attorney would not pursue the appeal; and that, should petitioner

wish to pursue an appeal, he would be proceeding pro se. Although ordinarily counsel would

file the notice of appeal, the record indicates the likely reason why that was not so in this

case. On the morning of sentencing, petitioner filed a motion to withdraw his guilty plea

based upon the allegation that counsel coerced him into pleading guilty. The court denied

the motion, finding no evidence whatsoever to support petitioner's "bald assertion" of

coercion. [Criminal Action No. 3:03-cr-101, Court File No. 911, Memorandum and Order,

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pp. 3-4]. Having made such an allegation against counsel, it is likely that petitioner wished

to proceed pro se on appeal.

        Petitioner does not state why he failed to file the pro se notice of appeal within the

time required. He met with his attorney soon after sentencing and while still in the federal

courthouse. At the conclusion of the sentencing hearing, the court had advised petitioner he

had ten days within which to prepare and file a notice of appeal. [Court File No. 3:03-cr-101,

Court File No. 1000, Transcript of Sentencing Hearing, p. 8]. Nevertheless, petitioner's

failure to timely file the notice of appeal does not reflect on his attorney's conduct.

        Under the circumstances, petitioner has failed to demonstrate ineffective assistance

of counsel under the Strickland standard. See Higbee v. United States, 20 Fed.Appx. 465,

466 (6th Cir. Sept. 26, 2001) (Petitioner cannot demonstrate ineffective assistance of counsel

where he and his counsel consulted about filing a direct appeal, and petitioner knew after the

meeting "that counsel was not going to proceed with the appeal and that he, should he wish

to pursue the matter, would be proceeding pro se.").




IV.     Conclusion


        Petitioner is not entitled to relief under § 2255 and his motion to vacate, set aside or

correct sentence will be DENIED. This action will be DISMISSED. All other pending

motions will be DENIED as MOOT. In addition to the above, this court CERTIFIES that

any appeal from this action would not be taken in good faith and would be totally frivolous.

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Therefore, this court will DENY petitioner leave to proceed in forma pauperis on appeal.

See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to make

a substantial showing of the denial of a constitutional right, a certificate of appealability

SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

Procedure.


       AN APPROPRIATE ORDER WILL ENTER.


                                                          s/ Leon Jordan
                                                    United States District Judge




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